                                                SO ORDERED.


                                                Dated: July 10, 2022
1

2
                                                   ______________________________________
3                                                  Madeleine C. Wanslee, Bankruptcy Judge

4

5

6
                     IN THE UNITED STATES BANKRUPTCY COURT
7
                          FOR THE DISTRICT OF ARIZONA
8
     In re:                         )     In Chapter 7 Proceedings
9                                   )
     LEIF MICHAEL ANDERSEN;         )     Case No. 2:21-BK-06102-MCW
10                                  )
                         Debtor.    )
11                                  )

12                            ORDER EXTENDING
                               §727 DEADLINE
13
               This matter having come before the Court on the trustee’s
14
     Motion To Extend §727 Deadline (Admin. Dkt. No. 69); and
15
               Good cause appearing.
16
               IT IS HEREBY ORDERED that the deadline for the Chapter 7
17
     trustee to file an objection to the discharge of the debtor and the
18
     debtor’s marital community under 11 U.S.C. §727 is extended through and
19
     including October 15, 2022.
20
                         DATED AND SIGNED ABOVE.
21

22

23

24

25

26

27

28
